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                      Exhibit 12
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    Interview on NBC'S Meet the Press with Tim Russert
    Secretary Colin L. Powell
    Washington, DC
    May 5, 2002

    MR. RUSSERT: First, we are joined by the Secretary of State Colin Powell. Mr. Secretary, welcome back.

    SECRETARY POWELL: Thank you, Tim. Good morning.

    MR. RUSSERT: Israeli Prime Minister Ariel Sharon heads for Washington. He will meet with you and the President. What will you tell him?

    SECRETARY POWELL: Well, we want to hear from Prime Minister Sharon his assessment of the situation in the region. In all of my recent conversations with Prime Minister Sharon, even after he has had
    to respond forcefully to the terrorism directed against the Israeli people, he has made it clear that he is committed to a peace process; he is committed to ultimately finding a way to have a Palestinian state
    that lives side by side with Israel. So we want to hear from him what his ideas are with respect to how we go forward, and I am sure we will also let him hear some of our ideas of how we go forward.

    MR. RUSSERT: His party, the Likud Party, is going to meet on May 12th and once again vote against a Palestinian state.

    SECRETARY POWELL: I think we all have to realize that we need to keep the vision of a Palestinian state alive, because the only way you're ultimately going to solve the crisis in the Middle East is for
    these two peoples to find a way to live side by side, in peace and security, respecting one another, with good relations between the two. It is a tough vision to achieve, but it's a vision we must not turn loose
    of because, otherwise, we will just have continuing violence, continuing terror, and it is not a problem that's going to be solved by violence, terror or military action.

    MR. RUSSERT: One of the difficulties in the negotiation are the Israeli settlements, about 145 settlements on the West Bank and Gaza Strip. Thirty-four settlements have been built since Sharon became
    Prime Minister. Will you tell the Prime Minister that he's going to have to close down some of those Israeli settlements in order to get a peace deal?

    SECRETARY POWELL: I think it's clear, both in the previous administration and in this administration, that something has to be done about the problem of settlements. The settlements continue to grow;
    they continue to expand. And as the President said in his speech on the 4th of April, where he laid out his vision of a Palestinian state, he made the case in that speech that something would have to be
    done about the settlements. The previous administration tried to deal with this issue, and they didn't find a solution, but it is not going to go away as a problem, as an issue toward finding a solution. And I'm
    sure this will be part of our discussion with Prime Minister Sharon.

    MR. RUSSERT: In terms of the borders, Sharon has said that the land that the Israeli army conquered, captured in '67, that's Israeli territory, as far as he is concerned. Will he have to accept and move the
    borders back to pre-'67?

    SECRETARY POWELL: Well, as you know, he is firmly of the view you just expressed. And at the same time, the Arab League, when it met in Beirut a couple of weeks ago, talked about normalizing
    relations with Israel, all 22 Arab nations having a normal relation with Israel, but they said we should start with the premise that we'll have to get back to the '67 borders. So we're going to have to discuss
    this issue.

    The only way you're going to find a way forward is to have people start talking in order to bring ideas to the table and discuss how we can determine what the borders of a Palestinian state might be. How
    do you get to that final vision? One of the things we're going to do at the meetings that we'll be having, and the one I announced on Thursday, is to start to explore how we can move forward. Do you go to
    an interim state, a provisional state? Or do you just have phases that go to the final state solution that we're looking for? These are tough issues. They have been on the table for many months and years.
    They're not going to be solved overnight. They're not going to be solved in one meeting. But they have to be discussed.

    MR. RUSSERT: What do you think of Prime Minister Sharon's idea of building a 600-mile security fence; in effect, fencing Israelis away from Palestinians?

    SECRETARY POWELL: Well, I would like to hear if that really is the Prime Minister's position, and if it is, I'm sure he'll discuss it with the President on Tuesday. But I don't know that you're going to solve
    the problem with a fence unless you solve the underlying problems of the Palestinians feeing that they are disenfranchised, that the occupation continues. We'll just have to see.

    MR. RUSSERT: In a curious way, it took Richard Nixon, a fervent anti-Communist, to go to Red China and normalize relations because the American people trusted anti-Communist Richard Nixon to do
    that. Do you think Ariel Sharon, as a Likud Party member, as a warrior, can play that same kind of operational game out where he would be trusted to be the one who could make peace?

    SECRETARY POWELL: Well, I don't want to put thoughts into Ariel Sharon's mind. He can speak for himself. But the one thing I do know, that in my conversations with him he has spoken passionately
    about the need for security for the Israeli people. He has spoken passionately about his need to respond when the people of Israel are attacked. He has spoken with equal passion about the need to go
    forward, the need to find a political solution, the need to get into the Mitchell process, for example. And so we'll be anxious to hear his ideas about how that is possible.

    MR. RUSSERT: When you announced the peace conference, international conference on the Middle East, on Thursday, the New York Times had a front page story yesterday which said, "Colin is Having a
    Ministerial Meeting, one senior official said." It seemed almost like to trivialize your attempts.

    SECRETARY POWELL: Not really. The President and I were joking about it on Friday morning, the difference between a conference and a meeting, and whether -- at what level it's held. But we have a
    common view within the administration of what we're talking about. This meeting will be a continuation of events and activities and meetings we've been having since the President's April 4th speech, where
    he laid out his vision.

    He sent me to the region to talk to our Arab friends, to pull together the Madrid Quartet, as it's now called -- the United States, the European Union, the United Nations and the Russian Federation. I then
    went into the region, spoke to Chairman Arafat, spoke to Prime Minister on multiple occasions. We've solved the problem at the Mukata’a. I hope we're on the way to solving the problem at the Church of
    the Nativity in Bethlehem.

    So there are new things in play. Chairman Arafat is out of his isolation and now has to take responsibility for what's been happening while he has been in isolation. They had a town hall meeting in
    Ramallah yesterday where they kind of -- some of the people started saying to Chairman Arafat, "Where are we going? What's this all about? Look what's happened to us."

    And so we're having a lot of things take place right now. We're trying to reestablish security coordination between the two sides -- humanitarian, economic reconstruction. And I think the meeting that we're
    going to have in the summer should be at ministerial level, meaning let's talk about ministerial level issues. It's been over a year and a half since there -- almost a year and a half since there was a head-of-
    government/head-of-state level meeting. And with all that's happened in the last 18 months or so, to suggest that we start out with head-of-government type issues, I think is a bridge too far.

    So let's continue this process of discussions, meetings. We have King Abdallah of Jordan coming this week. We have Prime Minister Sharon. Crown Prince Abdullah of Saudi Arabia was just here.
    Foreign Minister Saud of Saudi Arabia will be here tomorrow. Lots of things are taking place. It's appropriate to have a meeting where these ideas can come forward. We can talk about security. We can
    talk about reconstitution of the Palestinian Authority in a non-corrupt, more responsive and more democratic way, a transparent organization, rebuilding its infrastructure and security apparatus. There's lots
    to talk about at such a meeting, and the meeting is just a continuing of the work that began when President Bush made his April 4th speech.

    MR. RUSSERT: Where will it be?

    SECRETARY POWELL: Haven't decided yet. And over the next month or month and a half, we'll be fanning out -- not only United States diplomats, but others from the European Union, the United
    Nations, the Russian Federation. Japan wants to play a role in this. Many nations want to play a role in this.

    And the most important role, perhaps, is going to be played by the Arab nations that now want to have a greater stake in the outcome of such efforts. I hope that the Arab League and all of the members of
    the Arab League will be working with the Palestinian Authority and with Chairman Arafat to move them in the right direction -- away from violence, away from terror, and onto a new path that will lead to a
    state for the Palestinian people and to restore hope for the Palestinian people.

    MR. RUSSERT: Will you be returning to the Middle East soon?
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SECRETARY POWELL: I don't have a plan yet to return, but I'm ready to do so when it is appropriate and when there is a purpose to be served.

MR. RUSSERT: So Yasser Arafat will not be at the ministerial meeting?

SECRETARY POWELL: Well, right now it's a ministerial level meeting with ministerial issues, and we won't make a determination yet as to who is going to attend and not attend. That remains to be
determined.

MR. RUSSERT: But you do expect the Israelis and the Palestinians both to be represented?

SECRETARY POWELL: I would expect that.

MR. RUSSERT: The difficulty, some point out, is the rhetoric being used by some. The Palestinian Foreign Minister had this to say: "This is a Holocaust of the Palestinians. We have to be supported by
the international community to stop the Nazi Israelis from killing the Palestinian people." That's the Palestinian Foreign Minister. How do you negotiate with someone like that?

SECRETARY POWELL: If I were to spend every day that I'm in office responding to the rhetoric that comes out from various parts of the Middle East, that's all I would do. I have to try to blow through this
rhetoric, get to the basic problems, try to deal with the basic problems, and not be deterred by the statement du jour.

MR. RUSSERT: The problem is here at home, both houses of Congress have passed resolutions very supportive of Israel. One of the leaders of the Republican Party in the House, Tom Delay, had this to
say, and I'll show you and our viewers: "The United States should not pressure Israel to negotiate with the Palestinian Authority because Yasser Arafat is completely untrustworthy. During four decades of
terrorism, Yasser Arafat has proven his total contempt for human life. We should support Israel as they dismantle the Palestinian leadership that foments violence and fosters hate. No one should expect
the people of Israel to negotiate with groups pursuing the fundamental goal of destroying them. The defense of freedom demands more from us than a value-neutral brokerage."

Is that helpful?

SECRETARY POWELL: Well, let me say this. It is up to the Israeli Government to determine who they want to negotiate with and not negotiate with, or who they want to sit across the table with and not sit
across the table with. We will try to create a set of circumstances where both sides find it in their interest to sit across the table from one another at some level.

I also take note of a poll this morning done of the American people where a large percentage of the American people want the United States to play the neutral, honest broker role. This doesn't mean that
we are in any way weakening our support for Israel. We have been there for Israel and with Israel since the day it was founded, and we will always be there for Israel. But we think being for Israel also puts
an obligation on us to work with the other side, with the Palestinian side to find a way forward, so that we're not just in a constant period of conflict.

So what we are trying to do, and the fact that we are in touch with the Palestinian side in trying to make this happen, is not something we're doing to Israel; it's something we're doing for Israel as Israel's
strongest, best friend in the world.

MR. RUSSERT: When the Republican House leadership passes a resolution saying Israel should get more aid, and one of the primarily Republican leaders in the House makes comments like that, does it
make your job easier?

SECRETARY POWELL: My job is difficult in many respects, and I get help from all quarters. Now, we would have preferred not to have a resolution at this time, but the House felt it appropriate, and both
bodies felt it appropriate to go on record with these statements. And that's part of our democratic system.

MR. RUSSERT: The Saudis have been making a major PR offensive here in the United States -- television ads, newspaper ads -- and yet their ambassador to London writes a poem saying that the martyrs
are wonderful people, suicide bombers are wonderful people. Have the Saudis ever completed an investigation of the 15 Saudis who were hijackers on September 11th?

SECRETARY POWELL: I don't know if they've completed an investigation. I know that they were as shocked as we were as to where all these individuals came from and their involvement with Saudi
Arabia. I must say that Crown Prince Abdullah, the vision he has put forward and the cooperation that the Saudi authorities have shown with the United States in all we have done since 9/11 has been
positive. We are appreciative of what the Saudis are doing. And more importantly, they have clearly indicated that they want to play a more active role as we move forward in trying to find a solution to this
crisis.

MR. RUSSERT: The Israelis say they have documents that show the Saudis gave a half million dollars to Palestinian martyrs, including families of suicide bombers. Are the Saudis being duplicitous?

SECRETARY POWELL: The Saudis have -- we've talked to them directly about this. They say that the donations that they are making and the telethon money they are raising are going through the
International Committee for the Red Cross, going to UNRA, the United Nations Relief Agency, and going for humanitarian purposes to families, and not a reward for suicide bombing, but taking care of
people in need. That is their position.

MR. RUSSERT: Do you believe them?

SECRETARY POWELL: From what I have heard, yes.

MR. RUSSERT: Let me turn to Iraq. Time Magazine cover story: "Saddam Working Feverishly to Build a Nuclear Bomb." Do you think that's true?

SECRETARY POWELL: Well, he is always anxious to acquire nuclear weapons. I haven't read the story so I don't know what new evidence or information they're putting forward. We have always
suspected him of trying to do this. I haven't seen that he has made -- I haven't noticed that he has made any breakthroughs, but I'm sure he's working feverishly.

That's why we have the policy we have: keep the sanctions in place -- and we've had some success with that in the Security Council in recent days; get the inspectors back in, as the President has called
for, to see what is going on as best we can with inspectors. And that's why the United States, irrespective of what the United Nations might do with inspectors or sanctions, continues to believe that regime
change is the best solution to get a more responsible regime in there that will be more interested in the needs of the Iraqi people than threatening neighbors.

MR. RUSSERT: There's the cover, "The Sinister World of Saddam." Looking at that picture, do you wish ten years ago you had gotten rid of him?

SECRETARY POWELL: Well, ten years ago at the beginning of the war, before the war started, not when the war was ending -- before the war started a decision was made -- a political decision, military
decision, a decision of the United Nations -- that the purpose of that war was to kick the Iraqi army out of Kuwait. It was not to go to Baghdad. And so that was not the choice we made at that time. One
can speculate as to whether we should have made a different choice, but I think it was the right political objective at that time. And we now see that he is in place, and that is why we believe regime change
is appropriate. But I think at the time we made those decisions, they were the correct decisions.

MR. RUSSERT: Most Americans are surprised to learn that we get about 9 percent of our oil from Iraq, and that we thought that the money we're paying Iraq would go to food and medicine for children.
The Wall Street Journal did a piece the other day which showed that Saddam has put an illegal surcharge on each of these barrels of oil that we're buying, and he's raised about $2.5 billion in illegal
surcharges, which he is using to develop a nuclear arms program.

Why don't we stop importing Iraqi oil, period, and not give him a nickel?

SECRETARY POWELL: Oil is a fungible commodity. It enters the world market; it's hard to tell where it's coming from at any one point in time. We have done a pretty good job of controlling the money that
goes to the regime. The UN Oil-for-Food program and the sanctions regime that we have managed to keep in place -- and I think we'll improve in the next few days with new UN resolutions -- controls about
80 percent of the money that goes to the regime.

But he is able -- through smuggling activities and other states that are neighbors of his, and this kind of duplicitous action in arranging surcharges, he is able to generate an additional $2-$3 billion a year
that he can use for whatever purpose he chooses. I wish that were not the case. I wish we could shut it down entirely, but we haven't been able to. But we have been able to keep the Oil-for-Food program
in place, and that controls about 80 percent of the funds available for the regime.

And with a new resolution coming in, he will no longer have the ability to claim that we are hurting Iraqi citizens. He is the one hurting Iraqi citizens by his misuse of the money that is made available to him
through these smuggling activities.

MR. RUSSERT: Symbolically, if we stood up and said we don't want your oil, wouldn't that be an important gesture?

SECRETARY POWELL: Well, I don't know. I don't know what it would do to the oil markets, and I'm not sure how you would stop the oil from being exported in inappropriate ways, not just through the Oil-
for-Food program, but out through neighboring countries.

MR. RUSSERT: Let me turn to Afghanistan. Our next guest, Senator John Edwards, was down in Florida speaking about Afghanistan a few weeks back. Let me show you the tape and give you a chance
to talk about it.

"We've kept the peacekeeping force, the international peacekeeping force, to 4,500 troops, right around Kabul. And while that's happening, the rest of the country is going right back to chaos, right back to
where it was under the Taliban. This is an enormous mistake."

Do you believe Afghanistan is going back "right back where it was under the Taliban"?

SECRETARY POWELL: No, of course not. We have an Interim Authority that is functioning. A Loya Jirga, a coming together of all the parties in Afghanistan, will be convening in the near future to create a
more permanent government leading to elections. A national army is now in the process of being built with United States assistance. We have US troops that are continuing to chase al-Qaida and the
Taliban.

And there are still some problems in the country. It is not totally secure, but I think it is not quite as bad as the Senator suggests. And in fact, we have been meeting on this on a number of occasions during
the past week, getting reports. And one way to measure how things are is: are the NGOs and the humanitarian organizations able to operate throughout the country? And about 75 percent of the country is
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 relatively, relatively stable. Relatively. You could find a warlord problem in any part of the country, but generally it's relatively stable. There are problems in the eastern part of the country, over toward the
 Pakistani border, which causes us concern.

 So in a period of several or four or five months, I think we've done a pretty good job of standing up the Interim Authority, giving them the wherewithal to start exercising their authority throughout the country.
 There are still challenges between warlords and the new central authority, but I think we've accomplished a lot in the first four months.

 And there is no enthusiasm anywhere for increasing the size of the International Security Assistance Force. There's not a long list of countries standing in line saying we want to send in 10,000 of our troops
 to be stationed in various parts of Afghanistan. And so it is still a fragile situation --

 MR. RUSSERT: That could not happen?

 SECRETARY POWELL: I don't see it happening. It is still a fragile situation, and I am not declaring success, but I think we have made some progress. And as the national army, the national police force
 and the border forces stand up and are trained, I think stability and security will improve throughout the country.

 MR. RUSSERT: President Chavez of Venezuela gave an interview the other day which suggested that he's investigating whether the United States was part of a military coup to overthrow him. And on
 April 12th, as you well know, Mr. Secretary, White House Press Secretary Ari Fleischer said that President Chavez had resigned the presidency, when in fact he had not.

 Was the United States involved in any way, shape or form?

 SECRETARY POWELL: Absolutely not. It's a canard. He can investigate all he wants. There is absolutely no substance to any suggestion that we would have participated in a coup activity or encouraged
 a coup. If anything, the signal we have been giving out is we are now a community of democracies in this hemisphere, except for Castro's Cuba, and the democratic process must be followed, constitutional
 processes must be followed. And we don't support coups. Coups are inappropriate and we had nothing to do with what happened that day.

 Now, we thought he had resigned, and that was the preliminary reports we got. It turned out that it didn't quite unfold the way it was initially suggested, and when I got back into the country several days
 later I went right to the Organization of American States and gave a powerful statement on behalf of the President and the American people for the constitutional democratic process in Venezuela. We've
 had our differences with President Chavez, and we have not been shy about pointing out the difficulties we have with President Chavez, but we would in no way suggest that constitutional and democratic
 processes should not be followed and that a coup was appropriate. Absolutely nothing to it.

 MR. RUSSERT: Big election in France today. What's your take on Jean-Marie Le Pen?

 SECRETARY POWELL: Well, not much. I'm pleased that the polls suggest he will be overwhelmingly marginalized and defeated by Mr. Chirac.

 MR. RUSSERT: Before you go, lots of speculation about your future. This is the way the Daily News treated it. Here's the headline: "Colin Staying, Says W. Aides. Bush aids scrambled yesterday to
 quash public speculation that Secretary of State Powell is ready to quit, but they conceded he's frustrated by bureaucratic battles with the administration hardliners. A senior Bush insider says that while
 Powell isn't remotely thinking about bailing out, the Secretary is frustrated at what he views as Rumsfeld, the Secretary of Defense, meddling on his foreign policy turf and Bush's willingness to tolerate the
 interference. For his part, Powell, a retired four-star general, thinks he's the general and should be running the foreign policy war with a little advice from the President. Says a Bush official who is otherwise
 a Powell fan, "That's not the way it works." Powell often jokes about his feud with the Pentagon, referring to Rumsfeld and his deputy, Paul Wolfowitz, at staff meetings as "the bombers.""

 SECRETARY POWELL: The who?

 MR. RUSSERT: "The bombers."

 SECRETARY POWELL: No, I don't think I've ever used that. I have --

 MR. RUSSERT: How frustrated are you?

 SECRETARY POWELL: I'm not frustrated. Are there daily -- are there battles from time to time within an administration? Of course there are. When you have people with strongly held views, you can
 expect to have these kinds of disagreements from time to time. But we're in agreement more than we're in disagreement, and I am in no way thinking about resigning. I am not frustrated to the point that I
 am weeping in my beer or hiding in my family room. I support the President. I am pleased at the relationship I have with my colleagues within the administration and with the President. We argue our
 points of differences out; the President decides. It's his foreign policy, not mine, and not Don Rumsfeld's.

 MR. RUSSERT: You will serve your full four-year term?

 SECRETARY POWELL: Well, I don't have a term. I serve at the pleasure of the President.

 MR. RUSSERT: But you'd like to serve for four years, the President's first term?

 SECRETARY POWELL: Well, I serve at the pleasure of the President. I would not like to prejudge the pleasure of the President.

 MR. RUSSERT: You're perfectly content?

 SECRETARY POWELL: Do you see any look other than content this morning? (Laughter.)

 MR. RUSSERT: That has to be the last word. General Colin Powell, the smile tells it all.




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